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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION



MICHAEL THOMAS and
PORSCHA THOMAS,

       Plaintiffs,

v.                                                                Case No. 16-10313

CITY OF HIGHLAND PARK,                                           HON. AVERN COHN
JEFFREY CROUCH,
CURTIS WHITE,
JOHN DOE OFFICER,
KEVIN CONEY, and
JAMILLE EDWARDS,

       Defendants.

___________________________________/

 ORDER DISMISSING DEFENDANTS CITY OF HIGHLAND PARK, CURTIS WHITE,
       JOHN DOE OFFICER, KEVIN CONEY, AND JAMILLE EDWARDS

       This is a § 1983 case in which Plaintiffs Michael and Porscha Thomas claim they

were subjected to excessive force at the hands of Defendant Jeffrey Crouch and other

Highland Park police officers. On February 14, 2018, a hearing was conducted

regarding Defendants’ corrected motion for summary judgment (Doc. 37). As developed

in the course of the record of that hearing, the Court holds:

       1. Defendant City of Highland Park is DISMISSED from the case because there

           is insufficient evidence in the record to sustain a municipal claim according to

           the standard articulated in Monell v. Dep’t of Soc. Servs., 436 U.S. 658

           (1978).
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      2. Defendant Curtis White is DISMISSED from the case because there is no

         evidence in the record that his quickly corrected mistake in transmitting

         computer-generated information amounted to a violation of Plaintiffs’

         constitutional rights.

      3. Defendant John Doe Officer is DISMISSED from the case because the

         parties have failed to identify him.

      4. The claim of Plaintiff Porscha Thomas is DISMISSED because there is a lack

         of competent evidence in the record identifying the officer who handcuffed

         her.

      5. Defendant Kevin Coney is DISMISSED from the case because there is

         insufficient evidence in the record to establish that he was at the scene of the

         incident or was involved in any way.

      6. Defendant Jamille Edwards is DISMISSED from the case because there is

         insufficient evidence in the record to establish that she was at the scene of

         the incident or was involved in any way.

      7. Within ten (10) days, Plaintiffs shall lodge with the Court three (3) cases

         supporting the assertion that Defendant Jeffrey Crouch’s actions on February

         19, 2014 violated the constitutional rights of Plaintiff Michael Thomas.



SO ORDERED.

                                                 s/Avern Cohn
                                                  AVERN COHN
                                                 UNITED STATES DISTRICT JUDGE
Dated: February 16, 2018
Detroit, Michigan 



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